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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division

   DEBORAH J. LAUGHLIN, Individually and as
   Executor of the Estate of PATRICK A.
   LAUGHLIN, deceased and JOYCE D.
   BLAYLOCK, as Substitute Ancillary
   Administrator of the Estate of PATRICK A.
   LAUGHLIN, deceased

             Plaintiffs,
                                                             Case No. 4:18-cv-132-RAJ - LRL
   v.

   JOHN CRANE, INC., et al.,

             Defendant.

           PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
        LEAVE TO FILE A SECOND AMENDED COMPLAINT TO CONFORM TO
           THE EVIDENCE AND PROCEDURAL POSTURE OF THIS CASE

         Plaintiffs, by counsel, pursuant to Federal Rule of Civil Procedure 15(a)(2), submit the

  following Memorandum in Support of Motion for Leave to File a Second Amended Complaint to

  Conform to the Evidence and Procedural Posture of this Case. Plaintiffs’ proposed second

  amended complaint is attached as Ex. 1. In support of their motion, Plaintiffs respectfully state as

  follows:

                                          INTRODUCTION

         1.        This is a general maritime product liability case involving asbestos exposure and

  mesothelioma, which, for all intents and purposes, is factually similar to the case Mullinex v. John

  Crane, Inc., Civ. Act. No.: 4:18-cv-0033 that is currently pending in this Court. The only major

  difference is that Mr. Laughlin served as a machinist mate in the Navy aboard one ship from 1969

  until 1973 whereas Mr. Mullinex served as a machinist mate in the Navy aboard many ships from

  1969 until 1989.
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         2.      Plaintiffs are Deborah J. Laughlin, the surviving spouse and Executor of the Estate

  of Patrick A. Laughlin 1 and Joyce D. Blaylock, Substitute Ancillary Administrator of the Estate

  of Patrick A. Laughlin.

         3.      The sole remaining Defendant in this case is John Crane, Inc. (hereinafter, “JCI”).

         4.      Decedent, Patrick A. Laughlin, and his wife, Deborah J. Laughlin, filed their

  original complaint on August 31, 2018, in the Circuit Court for the City of Newport News,

  Virginia. JCI removed the case to this Court on October 19, 2018. (ECF 1).

         5.      On November 27, 2018, while decedent, Mr. Laughlin, was still alive, he and his

  wife filed their first amended complaint in this Court alleging that all Defendants, including JCI,

  were negligent and strictly liable for their failure to warn of the hazards of their asbestos-containing

  products, and that Defendants’ failures to warn were substantial contributing factors in causing

  him to develop mesothelioma. (ECF 70). In addition, Plaintiff, Deborah J. Laughlin, the dependent

  wife of Patrick A. Laughlin, alleged that the Defendants’ failures to warn caused her to lose the

  consortium and society of her husband prior to his death, and she sought recovery pursuant to

  American Export Lines, Inc. v. Alvez, 446 U.S. 274, 276 (1980) (allowing a plaintiff’s spouse to

  recover damages for loss of society in connection with a nonfatal injury).

         6.      The original Rule 26(f) Pretrial Order for this matter was entered on April 4, 2019,

  and it provided for completion of all discovery by October 31, 2019. (ECF 132). All discovery

  was completed pursuant to this Order, including the depositions of Plaintiff, Deborah J. Laughlin,

  and Heather Parlette, Carrie Harry, and Rachael Ritchie, the adult daughters of Deborah J.




  1
    On March 3, 2021, Deborah J. Laughlin, a resident of Dayton, Ohio, was appointed Executor of
  the Estate of Patrick Laughlin by the Probate Court of Montgomery County, Ohio. (ECF 322-2).
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  Laughlin and Patrick A. Laughlin. Accordingly, all of Mr. Laughlin’s statutory beneficiaries under

  Virginia’s wrongful death statute have already been deposed. See Va. Code ann. § 8.01-53.

         7.      This case was originally scheduled to begin trial on March 10, 2020, while Mr.

  Laughlin was still alive. (ECF 135). However, before trial could occur in this case, the case was

  stayed “pending resolution of dispositive motions” that both parties had filed. (ECF 219).

  Following this Court’s Order staying the case, the coronavirus pandemic hit, which caused this

  case to be even further delayed, through no fault of either party. The Court lifted the stay in this

  case on October 1, 2020. (ECF 272). However, as a result of the coronavirus, this case has been

  rescheduled for trial multiple times since then. (ECF 326, ECF 332). Trial is now scheduled to

  begin on November 1, 2022. (ECF 434). However, Plaintiffs understand that trial in this case may

  be continued until after resolution of the trial in Mullinex because both cases involve similar issues

  that need to be addressed by this Court.

         8.      On January 5, 2021, Mr. Laughlin died from complications of his asbestos-induced

  mesothelioma. (ECFs 317 and 322-1). On January 26, 2021, Plaintiffs filed a “Suggestion of

  Death” pursuant to Fed. R. Civ. P. 25, wherein Plaintiffs disclosed Mr. Laughlin’s death to this

  Court and noted that “[u]nder maritime law, Patrick A. Laughlin’s claims survive his death . . .

  [so] Mrs. Laughlin’s claims continue unabated.” (ECF 317 at 1-2).

         9.       On March 31, 2021, Plaintiffs moved to substitute the decedent, Patrick A.

  Laughlin, with Deborah J. Laughlin, who had been appointed Executor of the Estate of Patrick A.

  Laughlin, and Jennifer W. Stevens, Esq., [“Stevens”], who had been appointed Ancillary

  Administrator of the Estate of Patrick A. Laughlin, pursuant to Fed. R. Civ. P. 25(a). (ECF 320).

  Thereafter, on June 24, 2022, Joyce D. Blaylock, as Substitute Ancillary Administrator, was

  substituted as a proper party in place of Stevens. (ECF 442).



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         10.     Following Mr. Laughlin’s death, Plaintiffs intended to pursue a survival cause of

  action under maritime law relying in good faith on the Virginia Supreme Court’s decision in John

  Crane, Inc. v. Hardick, 732 S.E.2d 1, 4 (Va. 2012) (“Hardick II”) along with several other state

  and federal court opinions that followed Hardick II’s reasoning. 2 See Evans v. John Crane, Inc.,

  C.A. No. 15-681, 2019 WL 5457101, at *4-*5, n. 6 (D. Del. Oct. 24, 2019) (rejecting JCI’s

  argument that a plaintiff’s recovery is limited to pecuniary damages, and holding that “general

  maritime law – not DOHSA – applies to survival claims arising from an indivisible injury”) (citing

  and distinguishing The Dutra Group v. Batterton, 139 S.Ct. 2275, 2283 (2019) and noting that

  “[t]he facts of the present case do not involve a claim for unseaworthiness, and the Supreme Court

  expressly acknowledged that punitive damages are permitted for other maritime torts, including

  maintenance and cure”); Bell v. Foster Wheeler Energy Corp., Civ. Act. No. 15-6394, 2017 WL

  889074, at *3 (E.D. La. Mar. 6, 2017) (agreeing with Hardick and noting that the court “has not

  been directed to any on point authority suggesting a contrary result. Accordingly, the survival

  claim is not barred by DOHSA”); Hays v. John Crane, Inc., Case No. 09-81881-CIV-KAM, 2014

  WL 10658453, at *2, *5 (S.D. Fl. Oct. 10, 2014) (rejecting JCI’s argument and agreeing with

  Hardick that the plaintiff was entitled to a survival cause of action, and that DOHSA did not

  preempt plaintiff’s damages); McAllister v. McDermott, Inc., Civ. Act. 18-361-SDD-RLB, 2020

  WL 4745743 at *19 (M.D. La. Aug. 14, 2020) (citing Bell, 2017 WL 889074 at *6) (relying on




  2
    Plaintiffs also relied on the fact that every Federal Circuit Court to consider the issue has
  recognized a general maritime survival cause of action and allowed for recovery of pre-death pain
  and suffering damages. Wahlstrom v. Kawasaki Heavy Indus., Ltd., 4 F.3d 1084, 1094 (2nd Cir.
  1993); Evich v. Connelly, 759 F.2d 1432, 1434 (9th Cir. 1985); Kuntz v. Windjammer Barefoot
  Cruises, 573 F. Supp. 1277, 1284 (W.D. Pa. 1983), aff'd, 738 F.2d 426 (3d Cir. 1984); Law v. Sea
  Drilling Corp., 523 F.2d 793, 795 (5th Cir. 1975); Barbe v. Drummond, 507 F.2d 794, 799-800
  (1st Cir. 1974); Spiller v. Thomas M. Lowe, Jr. & Associates, Inc., 466 F.2d 903 909 (8th Cir.
  1972); Greene v. Vantage Steamship Corp., 466 F.2d 159, 166 & n.9 (4th Cir. 1972).
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  Bell, which relied on Hardick, and stating that a decedent seaman’s “estate can bring a survival

  action to recover all losses suffered during the decedent’s lifetime”).

         11.     Plaintiffs have also previously indicated that they may pursue a maritime wrongful

  death cause of action in accordance with Moragne v. States Marine Lines, Inc., 398 U.S. 375, 379,

  (1970). (ECF 321 at 3). Mrs. Laughlin likewise indicated her intent to pursue her own cause of

  action for her loss of consortium and society which she suffered as a result of Mr. Laughlin’s

  mesothelioma. (Id.). Lastly, in their Fourteenth Supplemental Rule 26(a)(1) Disclosures

  Regarding Patrick A. Laughlin, which were forwarded to JCI on January 5, 2022, Plaintiffs

  specifically stated that Mr. Laughlin’s adult daughters may “have information relative to their

  damages as a result of their father’s wrongful death, including their damages under Va. Code §

  8.01-52.” (See Ex. 2 at 7). However, prior to this Court’s June 10, 2022, Memorandum Opinion in

  Mullinex v. John Crane, Inc., Plaintiffs were unsure that they could recover any wrongful death

  damages under Moragne’s general maritime wrongful death cause of action, or that they could

  supplement their damages with Virginia’s wrongful death statute, as permitted by the United States

  Supreme Court in Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199 (1996), given the

  Virginia Supreme Court’s holding in Hardick II.

         12.     On June 10, 2022, this Court granted JCI’s motion to dismiss the plaintiff’s survival

  cause of action in Mullinex and ruled that the plaintiff in Mullinex could not recover for Mr.

  Mullinex’s pre-death pain and suffering or his medical expenses in a general maritime survival

  cause of action. See Mullinex v. John Crane, Inc., Case No. 4:18-cv-0033, 2022 WL 2110693

  (E.D. Va. June 10, 2022). In its opinion, this Court expressly rejected the Virginia Supreme Court’s

  decision in Hardick II and held that general maritime law does not recognize a survival cause of

  action. See id. at *4-5, & n.2. Instead, this Court held that maritime survival causes of action are



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  only available under the Jones Act in cases between Jones Act seamen and their employers. See

  id. at 4. On this point, this Court held, unlike the Court in Hardick II, that “‘[t]he identity of the

  defendant should matter.’” Id. (quoting Dennis v. Air & Liquid Sys. Corp., No. CV 19-9343-GW-

  KSx, 2021 WL 3555720, at *28 (C.D. Cal. Mar. 24, 2021)). Accordingly, this Court held that the

  plaintiff’s damages in Mullinex were not dictated by the Jones Act because “‘the beneficiary

  provisions of the Jones Act are applicable only to a specific class of actions – claims by seamen

  against their employers –based on violations of the special standard of negligence that has been

  imposed under the Federal Employers’ Liability Act.’” Mullinex, 2022 WL 2110693, at *4

  (quoting Moragne, 398 U.S. at 407).

         13.     However, this Court concluded its June 10, 2022, Memorandum Opinion by

  holding that “[p]laintiff could have pursued a wrongful death claim against Defendant under

  Virginia law” consistent with the Supreme Court’s decision in Yamaha Motor Corp., U.S.A. v.

  Calhoun, 516 U.S. 199 (1996). Mullinex, 2022 WL 2110693, at *5 (citing Calhoun, 516 U.S. at

  201). Based upon the similarities between this case and Mullinex, Plaintiffs anticipate that this

  Court may not permit Plaintiffs, herein, to purse Mr. Laughlin’s pre-death pain and suffering or

  medical expenses in a maritime survival cause of action in this case. 3 In light of this, Plaintiffs

  seek leave to amend their complaint to conform to the evidence and procedural posture of this case

  and to clarify the causes of action which Plaintiffs intend to pursue at trial.



  3
    JCI has filed a Motion in Limine to Exclude Plaintiffs’ Evidence of Nonpecuniary and Survival
  Damages in this case, which this Court has not yet ruled on. (See ECF 361, 362). Plaintiffs
  maintain that this Court should deny JCI’s motion for the reasons discussed in their Opposition to
  JCI’s Motion in Limine to Exclude Plaintiffs’ Evidence of Nonpecuniary and Survival Damages.
  (ECF 390). By filing this motion to amend their complaint Plaintiffs are in no way waiving or
  withdrawing their argument that Plaintiffs are entitled to pursue survival damages in a general
  maritime survival cause of action in this case. Instead, Plaintiffs are merely seeking leave to amend
  their complaint to add a wrongful death cause of action consistent with this Court’s June 10, 2022,
  Memorandum Opinion and Calhoun.
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          14.     Trial in this case will not begin for more than three months. (ECF 434). The parties

  took the deposition of all of Mr. Laughlin’s family members prior to his death, and thus JCI had

  the opportunity to probe the relationship that Mr. Laughlin had with his wife and daughters. JCI is

  well aware of the strong and loving relationship that existed between Mr. Laughlin, Mrs. Laughlin

  and their three daughters. JCI certainly has enough information to understand how Mr. Laughlin’s

  death impacted Mrs. Laughlin and their daughters. Further, JCI has been aware that Plaintiffs may

  pursue a survival cause of action under general maritime law in accordance with Hardick II as well

  as a wrongful death cause of action since March 31, 2021. (ECF 321). They have been aware that

  Plaintiffs may pursue a Virginia wrongful death cause of action under Va. Code Ann. §8.01-50, et

  seq., as provided for in Calhoun since January 5, 2022. (See Ex. 2 at 7). JCI has also been aware

  that Plaintiffs intended to pursue a cause of action for Mrs. Laughlin’s loss of consortium since at

  least November 27, 2018. (ECF 70). Finally, Plaintiffs’ motion comes well before the parties’ Rule

  26(a)(3) disclosures or the final pretrial order are due in this case, so to the extent that JCI wishes

  to call Mrs. Laughlin or any of Mr. Laughlin’s daughters to testify at trial, JCI is free to list them

  as witnesses it may call at trial. (See ECF 434). Accordingly, JCI cannot claim that it will be

  prejudiced by permitting Plaintiffs to amend their complaint to conform to the evidence and

  procedural posture of this case.

                                           LEGAL ANALYSIS

          I.      Standard of Review

          Fed. R. Civ. P. 15(a)(2) permits amendment of a party’s complaint after obtaining leave of

  court. Rule 15(a)(2) states in part, “[T]he court should freely give leave when justice so requires.”

  Id. It is well settled in the Fourth Circuit that leave is to be granted liberally. Ward Electric Service,

  Inc. v. First Commercial Bank, 819 F.2d 496, 497 (4th Cir. 1987), aff’d in part and rev’d in part,



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  856 F.2d 188 (4th Cir. 1988). Additionally, Fed. R. Civ. P. 15(b) permits amendments to pleadings

  even during and after trial to conform to the evidence when doing so will aid in presenting the

  merits and the opposing party will not be prejudiced. To justify a denial of leave to amend, it must

  appear to the Court that the amendment is futile, offered in bad faith, or prejudicial. Id.; see also

  Roper v. County of Chesterfield, 807 F. Supp. 1221, 1223 (E.D. Va. 1992). Indeed, “delay alone

  is not a sufficient reason to deny leave to amend. The delay must be accompanied by prejudice,

  bad faith, or futility.” Johnson v. Oroweat Foods Co., 785 F.2d 503, 509-10 (4th Cir. 1986) see

  also Foman v. Davis, 371 U.S. 178, 182 (1962) (“If the underlying facts or circumstances relied

  upon by a plaintiff may be a proper subject of relief, he ought to be afforded an opportunity to test

  his claim on the merits”). Here, Plaintiffs are seeking leave to amend their complaint to conform

  to the evidence and procedural posture of this case. The proposed amendment is not prejudicial, is

  not done in bad faith, and will not be futile.

                 A.      Plaintiffs Have Not Acted in Bad Faith

         First, Plaintiffs have not acted in bad faith. In general, “[b]ad faith includes seeking to

  amend a complaint for an improper purpose . . . or seeking leave to amend after repeated ‘pleading

  failures.’” Wilkins v. Wells Fargo Bank N.A., 320 F.R.D. 125, 127 (E.D. Va. 2017) (quoting U.S.

  ex rel. Nathan v. Takeda Pharm. N. Am., Inc., 707 F.3d 451, 461 (4th Cir. 2013)).

         Plaintiffs have not acted in bad faith here. Up until this Court’s June 10, 2022,

  Memorandum Opinion in the Mullinex case, it was Plaintiffs’ understanding that they could

  recover survival damages in a survival cause of action under general maritime law. Indeed,

  Plaintiffs maintain that this is still the case, and that this Court should deny JCI’s motion to dismiss

  Plaintiffs’ survival cause of action in this case for the reasons discussed in Plaintiffs’ Opposition

  to JCI’s Motion in Limine to Exclude Plaintiffs’ Evidence of Nonpecuniary and Survival Damages.



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  (ECF 390). However, in light of this Court’s June 10, 2022, Memorandum Opinion, Plaintiffs are

  now seeking leave to recover Virginia’s wrongful death damages, consistent with Calhoun. See

  Mullinex, 2022 WL 2110693, at *5. Indeed, prior to this Court’s Order dismissing the plaintiff’s

  survival cause of action in Mullinex, Plaintiffs’ understanding was that they could only recover

  damages in a survival cause of action, consistent with Hardick II, rather than Virginia’s wrongful

  death damages, consistent with Calhoun. To explain why Plaintiffs understood this to be the case,

  a brief summary of the state of the law prior to this Court’s order, including the Virginia Supreme

  Court’s holding and rationale in Hardick I and Hardick II is necessary.

         The Virginia Supreme Court issued two opinions in the case John Crane, Inc. v. Hardick.

  The end result of the Hardick decisions permitted the plaintiff to recover pre-death pain and

  suffering damages in a survival cause of action, but it prohibited the plaintiff from recovering

  Virginia’s wrongful death damages under Calhoun. See Hardick v. John Crane, Inc., 722 S.E.2d

  610, 616 (Va. 2012) (“Hardick I”) (holding that the plaintiff could not recover damages under

  Calhoun), modified on reh’g, Hardick, 732 S.E.2d at 4 (“Hardick II”) (holding that the Jones Act

  provides a survival cause of action, so the plaintiff could recover damages in a survival cause of

  action). In Hardick I, the Court rejected the plaintiff’s argument that the plaintiff’s decedent, a

  Navy sailor, could recover damages for loss of society because he was a “nonseafarer,” as the

  Supreme Court defined that term in Calhoun. See Hardick I, 722 S.E.2d at 615. In Hardick I, the

  Court specifically noted that the Supreme Court in Calhoun defined “nonseafarers” as “‘persons

  who are neither seamen covered by the Jones Act . . . nor longshore workers covered by the

  Longshore and Harbor Workers’ Compensation Act’” (“LHWCA”). Id. (quoting Calhoun, 516

  U.S. at 205, n.2). Nevertheless, even after defining nonseafarers in this way, the Court in Hardick

  I stated that the plaintiff could not recover damages under Calhoun because the plaintiff’s decedent



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   met the broader definition of a “seaman” as the Supreme Court defined that term in McDermott

   International, Inc. v. Wilander, 498 U.S. 337, 339 (1991). See Hardick I, 722 S.E.2d at 615-16

   (citing Wilander 498 U.S. at 355). In Wilander, the Court defined the term “seaman” broadly while

   it was resolving the question of “whether one must aid in the navigation of a vessel in order to

   qualify as a ‘seaman’ under the Jones Act.” Wilander, 498 U.S. at 339.

          However, Wilander’s definition of a “seaman” is broader than Calhoun’s definition of a

   “nonseafarer” because it encompasses everyone who could, theoretically, assert a claim against

   their employer under the Jones Act, rather than individuals who are actually “seamen covered by

   the Jones Act,” i.e., seamen who are actually suing their employers under the Jones Act. Compare

   Calhoun, 516 U.S. at 205, n.2 (stating “[b]y ‘nonseafarers,’ we mean persons who are neither

   seaman covered by the Jones Act . . . nor longshore workers covered by the” LHWCA); with

   Wilander, 498 U.S. at 339 (defining “seaman” broadly while resolving the question of who

   “qualif[ies] as a ‘seaman’ under the Jones Act”). Had the Supreme Court in Calhoun wished to

   make such an expansive definition of the term “nonseafarers,” it would have defined nonseafarers

   as “seamen, as that term is defined in Wilander.” But see Calhoun, 516 U.S. at 205, n.2. Yet, the

   Court’s decision in Calhoun does not define nonseafarers this way at all and Wilander is not cited

   anywhere in Calhoun, even though the Court decided Wilander only five years prior to its decision

   in Calhoun. See id.

          Nevertheless, even though Wilander’s definition of a seaman is broader and encompasses

   more people than Calhoun’s definition of a nonseafarer, the Hardick I Court’s ruling was based

   on the Court’s finding that a Navy seaman should be treated the same as a Jones Act seaman, no

   matter who he was actually suing. Thus, the Court looked to the Supreme Court’s definition of a

   seaman in Wilander, even though an individual can clearly meet Calhoun’s definition of a



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   “nonseafarer” and Wilander’s definition of a seaman so long as the seaman is not suing his

   employer. Hardick I, 722 S.E.2d at 616; see also Wilander, 498 U.S. at 339. In other words, the

   Court in Hardick I rejected the plaintiff’s argument that the plaintiff’s decedent was a nonseafarer

   entitled to recover under Calhoun because the Court found that plaintiff’s decedent met Wilander’s

   broader definition of a “seaman.” Hardick I, 722 S.E.2d at 615-19. Initially, the Court in Hardick

   I did not allow the plaintiff to recover for either her loss of society or her decedent’s pre-death pain

   and suffering. Id. at 619. However, on rehearing, the Court reinstated the plaintiff’s pre-death pain

   and suffering damages because these damages are allowed under the Jones Act. Hardick II, 732

   S.E.2d at 4. In sum, the consequence of the Hardick Court’s rulings is that the plaintiff in Hardick

   could not recover for her loss of society because these damages are not recoverable under the Jones

   Act. Id. However, the plaintiff could recover for pre-death pain and suffering in a survival cause

   of action because the Jones Act permits survival damages. Id. It is for this reason that Plaintiff did

   not file a complaint alleging a wrongful death cause of action under Calhoun in this case.

           However, this brings Plaintiffs to this Court’s June 10, 2022, Memorandum Opinion. This

   Court has held the opposite of what the Virginia Supreme Court held in Hardick – because

   Plaintiffs are not suing the decedent, Mr. Laughlin’s, employer, the United States Navy, Mr.

   Laughlin was not a seaman “covered by the Jones Act,” so his damages cannot be defined by the

   Jones Act. See Mullinex, 2022 WL 2110693, at *4. (dismissing Plaintiff’s survival cause of action

   because the Jones Act only “permits survival damages for pre-death pain and suffering and medical

   expenses in negligence claims by seamen against their employers”). Indeed, this Court, unlike the

   Hardick Court, believes “‘[t]he identity of the defendant should matter.’” Id. at *5 (quoting Dennis,

   2021 WL 3555720, at *28). Accordingly, the result of this Court’s ruling is that Mr. Laughlin is a

   “nonseafarer,” as that term is defined in Calhoun, and he is entitled to recover damages under



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   Virginia’s wrongful death statute. Mullinex, 2022 WL 2110693, at *4 (holding that the “[p]laintiff

   could have pursued a wrongful death claim against Defendant under Virginia law”) (citing

   Calhoun, 516 U.S. at 201 (holding that state remedies have not been displaced by the recognized

   federal maritime wrongful-death action)). This is a sea change from the majority rule, but the rule

   of this Court is now that Plaintiffs can recover damages under Virginia’s wrongful death statute,

   consistent with Calhoun.

           In sum, Plaintiffs have not acted in bad faith here. Instead, Plaintiffs relied, in good faith,

   on Hardick II and the law as it stood prior to this Court’s June 10, 2022, Memorandum Opinion in

   the Mullinex case. However, the result of this Court’s June 10, 2022, Memorandum Opinion means

   that Plaintiffs are entitled to recover damages under Virginia’s wrongful death statute, consistent

   with Calhoun. Mullinex, 2022 WL 2110693, at *5 (holding that “[p]laintiff could have pursued a

   wrongful death claim against Defendant under Virginia law”) (citing Calhoun, 516 U.S. at 201)

   (holding that state remedies have not been displaced by the recognized federal maritime wrongful-

   death action). Accordingly, this Court should allow Plaintiffs to amend their complaint to allege a

   wrongful death cause of action under Calhoun.

                   B.      Plaintiffs’ Amendment Is Not Futile

           “[A]n amendment is futile when it ‘is clearly insufficient or frivolous on its face.’” Wilkins,

   320 F.R.D. at 127 (quoting Johnson, 785 F.2d at 510). Accordingly, courts should only deny a

   motion to amend “if it is apparent that ‘the proposed amendments could not withstand a motion to

   dismiss.’” Wilkins, 320 F.R.D. at 127 (quoting Perkins v. United States, 55 F.3d 910, 917 (4th Cir.

   1995)); see also Knauer v. Johns-Manville Corp., 638 F. Supp. 1369, 1372 (D. Md. 1986) (noting

   that Courts should only deny a motion to amend where “it appears to a certainty that a plaintiff is

   not entitled to relief” because the plaintiff has “fail[ed] to state [a] colorable claim”).



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          Plaintiffs’ amendment is not futile for the reasons discussed above in Section I.A.

   Specifically, Plaintiffs’ amendment is not futile because the result of this Court’s June 10, 2022,

   Memorandum Opinion is that Plaintiffs can recover wrongful death damages under Virginia’s

   wrongful death statute, consistent with Calhoun, rather than survival damages in a maritime

   survival cause of action, consistent with Hardick. See Mullinex, 2022 WL 2110693, at *5. Further,

   even though Plaintiffs are seeking to recover wrongful death damages under Virginia’s wrongful

   death statute, as the Third Circuit held on remand in Calhoun, federal maritime law is still the

   substantive law of the case where a plaintiff seeks to recover for maritime torts under a state

   wrongful death statute. See Calhoun v. Yamaha Motor Corp., U.S.A., 216 F.3d 338, 351 (3rd Cir.

   2000) (holding that maritime uniformity principles require “that federal maritime standards govern

   the adjudication of a defendant’s (here, Yamaha’s) putative liability in an admiralty action brought

   pursuant to a state wrongful death/survival statute”)). To date, no Circuit Court has disagreed, and

   Plaintiffs are unaware of any cases that contradict the Third Circuit’s opinion. Instead, it appears

   that multiple courts have agreed with the Third Circuit’s decision in Calhoun. See Hurd v. U.S.,

   134 F.Supp.2d 745, 769 (D. S.C. 2001) (“The substantive law governing a defendant’s liability in

   an admiralty action is to be adjudicated under general maritime law, while state law may be used

   to assess damages”); Goodloe v. Royal Caribbean Cruises, Ltd., 418 F.Supp.3d 1112, 1127 (S.D.

   Fl. 2019), (Noting that “[t]his action is governed by general maritime law”, but that state statutes

   can supplement general maritime law) aff’d, 1 F.4th 1289 (11th Cir. 2021); In re Antill Pipeline

   Cost. Co, Inc., 866 F.Supp.2d 563, 567 (E.D. La. 2011) (Noting that state statues can supplement

   general maritime law, under Calhoun, but that “fault and liability allocation has remained an issue

   governed by general federal maritime law is such actions”).




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          Indeed, JCI has, for all intents and purposes, acquiesced to substantive maritime law

   applying in this case. Plaintiffs’ First Amended Complaint specifically alleged “maritime claims

   of strict liability and negligence” and stated that “the general maritime law of the United States

   applies in this case.” (See ECF 70 at 2-3). Unlike in the Mullinex case, JCI never moved to dismiss

   Plaintiffs’ maritime claims or to apply Virginia law in this case. Even if it attempts to do so now,

   the Third Circuit’s uncontroverted opinion on remand in Calhoun makes it is clear that substantive

   maritime law applies to this case any way. See Calhoun, 216 F.3d at 351 (noting that uniformity

   “is a rather strong concern in the instant matter. If we were to adopt the District Court’s holding

   that the substantive standards by which an admiralty defendant’s liability is adjudged is governed

   by the law of the state in which the alleged injury occurred, there would be no uniformity in such

   standards”).

          However, one important issue is raised by this Court’s ruling in Mullinex that Plaintiffs can

   recover state wrongful death damages under Calhoun. This Court’s ruling raises a potential choice

   of law issue regarding the question of which state law may supplement Plaintiffs’ damages in the

   wake of Mr. Laughlin’s death. In Mullinex, this Court held that “Plaintiff could have pursued a

   wrongful death claim against Defendant under Virginia law.” Mullinex, 2022 WL 2110693, at *5

   (citing Calhoun, 516 U.S. at 201). This Court’s ruling is correct in that case because the decedent

   in that case, Mr. Mullinex, was domiciled in Virginia prior to his death, and the plaintiff was

   pursuing damages for asbestos exposure that occurred in Virginia, so Virginia’s wrongful death

   statute may be used to supplement the plaintiff’s damages in Mullinex. (See Ex. 3, Plaintiffs’

   Second Amended Complaint in Mullinex, at 1-2 (describing Mr. Mullinex as a “resident[] of the

   Commonwealth of Virginia” and noting that his Navy service, wherein he experienced his asbestos

   exposure, occurred “onboard ships homeported, repaired or overhauled at Navy Bases and



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   shipyards in the State of Virginia”); see also Ex. 4, Plaintiff’s Third Amended Complaint in

   Mullinex, at 2 (noting that Mr. Mullinex’s spouse “was appointed Executor of the Estate of Herbert

   H. Mullinex, Jr. by the Circuit Court of Augusta County, Virginia”)). However, this issue becomes

   slightly more complex in this case because Plaintiff and her decedent, Mr. Laughlin, are Ohio

   residents suing for damages for asbestos exposure that occurred in Virginia. Nevertheless,

   Plaintiffs maintain that Virginia’s wrongful death statute should supplement Plaintiffs’ damages

   in this case, even though Plaintiffs damages could, instead, potentially be supplemented by Ohio

   or Illinois’s more generous wrongful death and survival statutes.

          As an initial matter, Plaintiffs note that this issue is largely irrelevant to whether this Court

   should grant Plaintiffs’ Motion for Leave to File a Second Amended Complaint to Conform to the

   Evidence and Procedural Posture of this Case, because the result of this Court’s June 10, 2022,

   Memorandum Opinion means that Plaintiffs must be able to recover damages under a state’s

   wrongful death or survival statutes. See Mullinex, 2022 WL 2110693, at *5 (citing Calhoun, 516

   U.S. at 201) (holding that state remedies have not been displaced by the recognized federal

   maritime wrongful death-action)). The only question that remains to be resolved is which state’s

   law will apply. Plaintiffs maintain that Virginia’s wrongful death statute should apply. Fortunately,

   this Court is not without guidance on this issue.

          The Third and Eleventh Circuit Courts of Appeals have directly addressed this issue, and

   both Courts have used a multi-factor test to determine which state’s laws may supplement a

   Plaintiffs’ maritime damages under Calhoun. See Calhoun, 216 F.3d at 346; Goodloe v. Royal

   Caribbean Cruises, Ltd., 1 F.4th 1289, 1295 (11th Cir. 2021). In Calhoun and Goodloe, both

   Courts held that because the Courts were sitting in admiralty jurisdiction, federal-choice-of-law

   rules dictated which damages should apply in those cases. Calhoun, 216 F.3d at 345; Goodloe, 1



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   F.4th at 1294-95. Accordingly, both Courts turned to the Supreme Court’s opinion in Lauritzen v.

   Larsen, 345 U.S. 571 (1953) for guidance to “‘analyz[e] which state had the most significant

   relationship to the incident and the dominant interest in have its law applied.’” Goodloe, 1 F4th at

   1294 (quoting Calhoun, 216 F.3d at 346). Lauritzen involved an international choice-of-law issue,

   and the question before the Court was whether to apply United States law or Danish law. Lauritzen,

   345 U.S. at 573. The Court applied a seven-factor test to determine the issue, and these factors

   included (1) place of the wrongful act; (2) law of the flag; (3) allegiance or domicile of the injured;

   (4) allegiance of the defendant shipowner; (5) place of contract; (6) inaccessibility of the foreign

   forum; and (7) law of the forum. Id. at 583-91.

          However, before beginning their analysis, both the Calhoun Court and the Goodloe Court

   noted that “the Lauritzen factors are most often applied to determine whether the admiralty law of

   the United States or that of a foreign state should be applied to a particular dispute.” Calhoun, 216

   F.3d at 346; see also Goodloe, 1 F.4th at 1293-94. Thus, the Courts agreed that “many of these

   [Lauritzen] factors . . . do not apply to the present dispute, which concerns entirely domestic

   interests.” Calhoun, 216 F.3d at 346; Goodloe, 1 F.4th at 1294 (noting that “two of the Lauritzen

   factors [(law of the flag and the inaccessibility of the foreign forum)] address concerns not

   presented in a domestic choice-of-law analysis”). Accordingly, the Eleventh Circuit distilled the

   Lauritzen factors down to six “factors to consider when conducting a domestic choice-of-law

   analysis under maritime law: (1) place of the wrongful act, (2) domicile of the injured, (3) domicile

   of the defendant, (4) place of contract, (5) law of the forum, and (6) location of the defendant’s

   base of operations.” Goodloe, 1 F.4th at 1295. Finally, both the Calhoun Court and the Goodloe

   Court also noted that a rigid application of the Lauritzen factors is not necessary, instead these

   factors are simply meant to help courts “‘analyz[e] which state had the most significant



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   relationship to the incident and the dominant interest in having its law applied.’” Id. (quoting

   Calhoun, 216 F.3d at 346).

          Applying these factors, the Court in Calhoun held that the plaintiff’s compensatory

   damages should be governed by Pennsylvania law, the decedent’s domicile, rather than Puerto

   Rico law, the location of the decedent’s injury and death, because “Pennsylvania has a substantial

   interest in obtaining compensation for its citizens in order to remedy wrongs that have been

   committed against such individuals.” Calhoun, 216 F.3d at 347. On the other hand, punitive

   damages were governed by Puerto Rico law because that is where the plaintiff died, so Puerto Rico

   had a stronger interest in “punish[ing] wrongdoers and deter[ing] future conduct” within its own

   waters. Id. at 347-48. Goodloe, on the other hand, held that the plaintiff’s right to nonpecuniary

   damages was governed by Florida law even when the decedent was domiciled in Wisconsin prior

   to his death. 1 F.4th at 1289. The Court reasoned that Florida law should apply in this situation

   because “Wisconsin’s wrongful death law does not apply to deaths occurring outside the state”

   and because “Wisconsin’s sole connection [to the case] is as the domicile of the deceased.” Id. at

   1292, 1295.

          To Plaintiffs’ knowledge, neither the Fourth Circuit nor the Eastern District of Virginia

   have considered the issue of which state’s wrongful death or survival statutes should apply in a

   case where the plaintiff seeks to supplement his maritime damages with state wrongful death or

   survival damages under Calhoun. Thus, this case presents an issue of first impression for the

   Eastern District of Virginia. However, another court within the Fourth Circuit, the United States

   District Court for South Carolina, has considered this choice of law issue in a maritime case where

   the plaintiffs asserted claims under South Carolina’s wrongful death and survival statue. See Hurd,

   134 F.Supp.2d at 770.



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           The Hurd Court began its analysis by noting that “[t]he substantive law governing a

   defendant’s liability in an admiralty action is to be adjudicated under general maritime law, while

   state law may be used to assess damages.” Id. at 769. Thus, the issue in Hurd was “whether

   Tennessee and Virginia law or the law of South Carolina applies to the determination of damages

   in this case.” Id. at 769-70. In Hurd, the plaintiffs died after a boat that they bought in South

   Carolina crashed into “the north jetty leading into Charleston Harbor” in South Carolina. Id. at

   749. As a result of the crash, “[a]ll four persons on board the” boat “drowned at sea.” Id. The

   plaintiff sued the coast guard under the Federal Tort Claims Act, the Suits in Admiralty Act, the

   Public Vessels Acts, and general maritime law in connection with the coast guard’s rescue efforts.

   Id. The Hurd Court considered the same Lauritzen factors as the Goodloe and Calhoun Courts,

   acknowledging that “[s]ince this case is a domestic one, most of the Lauritzen factors are not

   applicable; however, Lauritzen does provide guidance on the issue.” Id. at 770. First, the Hurd

   Court noted that:

           [t]he first and third Lauritzen factors, (1) place of the wrongful act and (3) allegiance or
           domicile of the injured, are at issue in this case. [And that,] [t]he first factor weighs heavily
           in favor of applying the law of the state of South Carolina to this case. The decedents
           intentionally traveled to South Carolina where the injuries and death occurred. Moreover,
           the Cornetts purchased the S/V Morning Dew [(i.e., the boat that crashed)] in South
           Carolina and the entire tragic voyage took place in South Carolina. Thus, the place of the
           accident was not merely fortuitous.

   Id. Ultimately, the Hurd Court decided that the first factor (the place of the wrongful act)

   outweighed the third factor (allegiance or domicile of the injured) because:

           “[t]he sole relationship of the States of Virginia and Tennessee with this litigation is that
           the boys lived there at the time of their ill-fated voyage, the personal representatives live
           there, and the decedents’ estates are being administered there. Thus, the facts of this case
           counsel in favor of the application of South Carolina law as to the Plaintiffs’ damages.

   Id. at 771.




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          The Hurd Court’s analysis is useful in this case, and it suggests that Virginia’s wrongful

   death statute should apply. Virginia’s wrongful death statute is implicated by at least the first and

   seventh Lauritzen factors (1) – the place of the wrongful act and (7) – the law of the forum. First,

   the place of the wrongful act in this case is Virginia because the decedent, Mr. Laughlin’s, asbestos

   exposure occurred at Navy bases and in shipyards located within the Commonwealth of Virginia

   during Mr. Laughlin’s Navy service onboard USS Conyngham. (See Ex. 5, Plaintiffs’ Shiplist and

   Chronology of Duty Stations, (previously provided as Exhibit 7 to Plaintiffs’ Objections and

   Answers to the Standard Set of Interrogatories and Requests for Product of Documents)). Indeed,

   each of the shipyards that Mr. Laughlin worked in during his Navy service are located in Virginia,

   and Mr. Laughlin’s ship, USS Conyngham, was homeported in Virginia. Thus, as in the Hurd case,

   “[t]he first factor weighs heavily in favor of applying” Virginia’s wrongful death statute because

   Virginia is where the wrongful act – Mr. Laughlin’s exposure to JCI’s asbestos-containing gaskets

   and packing – occurred in this case. 134 F.Supp.2d at 770. The seventh factor is also implicated

   because the “forum” in this situation is the Eastern District of Virginia.

          The second Lauritzen factor, “law of the flag,” does not apply in the domestic context.

   Calhoun, 216 F.3d at 346; Goodloe, 1 F.4th at 1294. The third Lauritzen factor “allegiance or

   domicile of the injured” would favor the application of Ohio’s wrongful death and survival statute.

   See Hurd, 134 F.Supp.2d at 770-71; see also Ohio Rev. Code Ann. § 2125.01, et. seq. (Ohio

   wrongful death statute); Ohio Rev. Code Ann. § 2305.21 (Ohio survival statute). Unlike Virginia,

   Ohio allows for plaintiffs to recover under both a survival cause and a wrongful death cause of

   action. See Wingrove v. Forshey, 230 F.Supp.2d 808, 826 (S.D. Ohio 2002) (“[a] survivorship

   claim exists separate and apart from a wrongful death claim”). This means that, if Plaintiffs are

   able to supplement their damages with Ohio law, they could recover all of the damages available



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   to them under Ohio’s wrongful death statute, and all of the damages available to them under Ohio’s

   survival statute. See Ohio Rev. Code Ann. § 2125.02 (enumerating damages available under

   Ohio’s Wrongful Death Statute); see also Whetston v. Binner, 57 N.E.3d 1111, 1114 (Ohio 2016)

   (holding that punitive damages may be recovered in a survival cause of action under Ohio law);

   Dickerson v. Thompson, 624 N.E.2d 784, 787 (Ohio Ct. App. 1993) (noting that Ohio law allows

   the plaintiff to recover damages “for the decedent’s pain and suffering” in a survival cause of

   action).

          However, the Court in Hurd found that the third factor cannot trump the “place of the

   wrongful act” when “the sole relationship” between the third factor and the case is that the plaintiff

   lived in the state prior to his death, and the plaintiff’s estate is administered there. See Hurd, 134

   F.Supp.2d at 770-71. 4 As for the fourth Laurtizen factor, the “allegiance or domicile of the

   defendant shipowner”, the Eleventh Circuit in Goodloe retooled this factor in the domestic context

   to include the “domicile of the defendant” and the location of the “defendant’s base of operations.”

   Goodloe, 1 F.4th at 1294-95. The Eleventh Circuit also noted that “[i]n a case like this one, where

   a single state is both the defendant's domicile and the location of its base of operations, these two

   factors merge into a single factor.” Id. at 1295, n.5. This factor would favor Illinois Law, because

   JCI’s “domicile” and “base of operations” is in Illinois. However, Plaintiffs are unaware of any

   Court having held that the wrongful death or survival statutes should be determined solely by the

   defendant’s domicile, and Plaintiffs cannot think of any logical reason why Illinois would have




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     Plaintiffs recognize that the Hurd opinion contradicts the Third Circuit’s opinion in Calhoun,
   which held that the plaintiff’s damages, expect for punitive damages, should be governed by
   Pennsylvania law because that is where the decedent lived prior to her death. Calhoun, 216 F.3d
   at 347 (holding Pennsylvania law should govern because “Pennsylvania has a substantial interest
   in obtaining compensation for its citizens in order to remedy wrongs that have been committed
   against such individuals”).
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   “‘the most significant relationship to the incident and the dominant interest in having its law

   applied.’” Goodloe, 1 F.4th at 1294 (quoting Calhoun, 216 F.3d at 346). 5 The fifth Laurtizen

   factor, the “place of contract” is likely inapplicable here as there was never a contract between JCI

   and Mr. Laughlin. See Hurd, 134 F.Supp.2d at 770 (declining to apply the “place of contract”

   factor). Finally, the sixth Lauritzen factor involves the “inaccessibility of a foreign forum”, which

   doesn’t apply in the domestic context. See Goodloe, 1 F.4th at 1294-95; Calhoun, 216 F.3d at 346.

          In sum, the Lauritzen factors are merely a guide to help courts “‘analyz[e] which state had

   the most significant relationship to the incident and the dominant interest in having its law

   applied.’” Goodloe, 1 F.4th at 1294 (quoting Calhoun, 216 F.3d at 346). The Laurtizen factors and

   the Court’s analysis in Hurd demonstrate that Virginia law, and Virginia’s wrongful death statute,

   should apply in this case, and Plaintiffs should be allowed to supplement their damages with the

   damages available under Virginia’s wrongful death statute, consistent with Calhoun. See Mullinex,

   2022 WL 2110693 at *5 (holding that the plaintiff in Mullinex could recover state remedies under

   Calhoun); see also Va. Code Ann. § 8.01-52 (enumerating the damages available under Virginia’s

   wrongful death statute).

          However, the Court does not need to decide at this time which state’s law can supplement

   Plaintiffs’ damages in order to grant Plaintiffs’ Motion for Leave to File a Second Amended




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     Like Ohio law, Illinois law also allows for a wrongful death cause of action and survival cause
   of action. See 740 Ill. Comp. Stat. 180/2; 755 Ill. Comp. Stat. 5/27-6. However, Punitive damages
   are not available in Illinois in either a wrongful death cause of action or a survival cause of action.
   See Froud v. Celotex Corp., 456 N.E.2d 131, 137 (Ill. 1983). While Plaintiffs believe Illinois law
   should not be used to supplement Plaintiffs damages in this case, the state of Illinois provides
   useful guidance regarding what damages are recoverable under the Illinois wrongful death and
   survival statutes. Specifically, Illinois Supreme Court Rule 239 instructs Courts to use the “Illinois
   Pattern Jury Instructions” when applying Illinois law, which are available on the Illinois Supreme
   Court website, available at: https://www.illinoiscourts.gov/courts/circuit-court/illinois-pattern-
   jury-instructions-civil/ (last accessed July 18, 2022). See Ill. Sup. Ct. R. 239.
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   Complaint to Conform to the Evidence and Procedural Posture of this Case because this Court’s

   June 10, 2022, Memorandum Opinion clearly allows for Plaintiffs to supplement their damages

   with a state’s law, consistent with Calhoun. Mullinex, 2022 WL 2110693, at *5 (holding that the

   “[p]laintiff could have pursued a wrongful death claim against Defendant under Virginia law”)

   (citing Calhoun, 516 U.S. at 201 (holding that state remedies have not been displaced by the

   recognized federal maritime wrongful-death action)). Indeed, the Court could simply grant

   Plaintiffs’ Motion for Leave to File a Second Amended Complaint to Conform to the Evidence and

   Procedural Posture of this Case and then request additional briefing on this particular issue prior

   to trial. At this time the Court has not ruled on any of the pretrial motions filed in this case, and

   the Court could request oral argument on any additional briefs filed between now and trial in this

   case. Nevertheless, Plaintiffs simply bring this point to the Court’s attention in this brief to

   demonstrate that Plaintiffs’ motion is not futile, because Plaintiffs clearly can recover damages

   under state law, consistent with Calhoun, while seeking to recover for JCI’s maritime torts, which

   are still governed by maritime substantive law. See Calhoun, 216 F.3d at 351.

                  C.      Plaintiffs’ Amendment Will Not Prejudice JCI

          Prejudice, in the context of a motion to amend, occurs “when a proposed amended pleading

   ‘raises new [a] new legal theory that would require the gathering and analysis of facts not already

   considered by the opposing party.’” See Wilkins, 320 F.R.D. at 127 (emphasis added) (quoting

   Johnson, 785 F.2d at 509-10). Courts have consistently allowed plaintiffs to add new causes of

   action that do “not require additional discovery” and thus do “not prejudice” the defendants. See

   Medigen of Kentucky, Inc. v. Pub. Serv. Comm’n of West Virginia, 985 F.2d 164, 168 (4th Cir.

   1993); see also Key v. Robertson, Civ. Act. No. 2:08cv174, 2009 WL 5942664, at *4 (E.D. Va.

   Feb. 23, 2009) (granting plaintiff leave to amend his complaint less than a month before trial



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   because “the factual circumstances underlying the issue [were] already well known to

   defendants”).

          For example, in Medigen, the Fourth Circuit affirmed a trial court’s decision to allow a

   plaintiff “to amend its complaint to add a cause of action under 42 U.S.C. § 1983.” Medigen, 985

   F.2d at 167. The Court in Medigen noted that the plaintiff “did not amend its complaint until six

   months after” the Supreme Court decided the case Dennis v. Higgins, 498 U.S. 439 (1991), which

   resolved a circuit split and specifically allowed the plaintiff to allege a cause of action under 42

   U.S.C. § 1983 for a “violation[] of the Commerce Clause.” Id. at 167-68, n. 3. The amendment

   also came just “days before the commencement of trial.” Id. at 168. Nevertheless, the Court granted

   the plaintiff’s motion to amend because the amendment “did not change the substance of the case,

   did not require additional discovery, and did not prejudice” the defendant. Id.

          The same is true of Plaintiffs’ amendment here. Prior to this Court’s June 10, 2022,

   Memorandum Opinion, Plaintiffs relied on the Virginia Supreme Court’s decision in Hardick II,

   which held that Plaintiffs’ damages were limited by the Jones Act, so Plaintiffs could only recover

   survival damages in a maritime survival cause of action. However, this Court’s June 10, 2022,

   Memorandum Opinion now makes clear that because Plaintiffs are not suing Mr. Laughlin’s

   employer, the United States Navy, under the Jones Act, Mr. Laughlin is a “nonseafarer” that is

   entitled to recover damages under Virginia’s wrongful death statute, consistent with Calhoun. See

   Mullinex, 2022 WL 2110693, at 5 (“[p]laintiff could have pursued a wrongful death claim against

   Defendant under Virginia law”) (citing Calhoun, 516 U.S. at 201 (holding that state remedies have

   not been displaced by the recognized federal maritime wrongful-death action)).

          Further, allowing Plaintiffs to recover damages under Virginia’s wrongful death statute

   will not prejudice JCI in any way. First, maritime substantive law will still govern this case, so



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   none of the standards of liability will change. See Calhoun, 216 F.3d at 351. The only real

   difference here is that if a jury finds JCI liable to Plaintiffs for maritime negligence or strict

   liability, then the jury will award damages under Virginia’s wrongful death statute, consistent with

   Calhoun. No new discovery is required in this case because the parties have already deposed Mr.

   Laughlin’s statutory beneficiaries, his wife and children. Indeed, this is true regardless of which

   state’s law supplements Plaintiffs’ damages in this case. For example, Mr. Laughlin’s wife and his

   children are his statutory beneficiaries under Virginia’s wrongful death statute. See Va. Code Ann.

   § 8.01-53. Mr. Laughlin’s wife and children are also his beneficiaries under Ohio law. See Ohio

   Rev. Code Ann. § 2125.02. 6 Finally, Mr. Laughlin’s wife and children are also his beneficiaries

   under Illinois law. 7 Finally, to the extent that JCI wants to call any of Mr. Laughlin’s statutory

   beneficiaries at trial, it remains free to do so because Plaintiffs’ motion comes well before the

   parties’ Rule 26(a)(3) disclosures or the final pretrial order are due in this case.




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    Ohio law allows for a “surviving spouse, the children, and the parents of the decedent” and “other
   next of kin of the decedent” to recover under the state’s wrongful death statute. Ohio Rev. Code
   Ann. § 2125.02. Accordingly, “under the statute, the surviving spouse, parents or children may
   maintain an action for wrongful death” and “other next of kin may [also] maintain an action despite
   the existence of survivors who maintain a closer relationship to the decedent.” See In re Estate of
   Payne (2005), 2005 WL 1155891, 2005-Ohio-2391, at ¶¶ 6-7 (emphasis added). However, “other
   next of kin are not rebuttably presumed to have suffered damages by reason of wrongful death. . .
   . Rather next of kin must prove their damages.” Id. at ¶¶ 6-8. In this case, the only people seeking
   to recover for Mr. Laughlin’s wrongful death are Plaintiff, Mrs. Laughlin, and Mr. Laughlin’s
   daughters. Thus, JCI cannot be prejudiced by this because the parties have already deposed
   everyone seeking to recover damages in connection with Mr. Laughlin’s death.
   7
     Illinois law allows for a recovery by “the surviving spouse and next of kin of such deceased
   person.” See 740 Ill. Comp. Stat. 180/2. In Illinois, proceeds from a successful wrongful death suit
   are distributed in accordance with Illinois’s intestacy laws. See In re Estate of Finley, 601 N.E.2d
   699, 701 (Ill. 1992). Accordingly, Mr. Laughlin’s wife and children would be the only
   beneficiaries under Illinois’s wrongful death statute. See 755 Ill. Comp. Stat. 5/2-1 (a) (stating the
   distribution should be as follows: “[i]f there is a surviving spouse and also a descendant of the
   decedent: ½ of the entire estate to the surviving spouse and ½ to the decedent’s descendants per
   stirpes”).
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           In sum, “delay alone is not a sufficient reason to deny leave to amend. The delay must be

   accompanied by prejudice, bad faith, or futility.” Johnson, 785 F.2d at 509-10. JCI cannot show

   bad faith, prejudice of futility, so this Court should grant Plaintiffs’ Motion for Leave to File a

   Second Amended Complaint to Conform to the Evidence and Procedural Posture of this Case.

                                                  CONCLUSION

           WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that this Court

   grant Plaintiffs’ Motion for Leave to File a Second Amended Complaint to Conform to the

   Evidence and Procedural Posture of this Case and grant such other and further relief as this Court

   deems just and proper. Plaintiffs’ second amended complaint is attached hereto as Ex. 1, and

   Plaintiffs request that it be deemed filed as of this date.

           Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 18th day of July, 2022, a true and accurate copy of the foregoing

   was filed electronically with the United States District Court for the Eastern District of Virginia

   using the CM/ECF system, which automatically sends all necessary notifications of this filing to

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